My name is Aymenn Jawad Al-Tamimi. I have been asked by the defense counsel, Charles
Swift, to provide expert testimony and opinions regarding the organizations operating in
Syria from 2016 through 2018, including terrorist and Islamist organizations, and aid
organizations.

I hold a first-class bachelor of arts from the University of Oxford in Classics and Oriental
Studies and I am currently doing a PhD at Swansea University focused on the role of
historical narratives in Islamic State propaganda. I have research competency in a number of
languages including Arabic, English, French, Spanish, Latin and Ancient Greek. For a number
of years I was a research fellow at the Middle East Forum (a think-tank based in
Philadelphia) and the Rubin Center (a think-tank based in Herzliya, Israel). I am currently a
research fellow at George Washington University’s Program on Extremism, where I have
assisted the program on the translation, redaction, archiving and analysis of thousands of
Islamic State documents recovered from northern Iraq by the New York Times. I have
written and published hundreds of articles and blog posts, including interviews, translation
of primary source material and analytical pieces, all of which can be found on my personal
website (http://www.aymennjawad.org).

I have been working on research and study of the Syrian conflict since 2012-2013, having
followed events in Syria in a more general sense since the outbreak of the unrest and civil
war in 2011. This research has included multiple trips to Syria during the war: once in 2014,
during which I visited the north Aleppo countryside on the border with Turkey, and twice in
2018, during which I visited Qamishli, Raqqa, Hasakah and Deir az-Zor up to the border with
Iraq. For my research and insights on the Syrian conflict, I have been cited and interviewed
in numerous media outlets and publications, including al-Jazeera English, the Financial
Times, Agence France-Presse, Voice of America, the New York Times, and the Wall Street
Journal. I have also written on aspects of the Syrian conflict for publications such as West
Point’s Combating Terrorism Center Sentinel, the Washington Institute for Near East Policy
and the Atlantic. Furthermore, I have been consulted for my work on Syria by government
agencies, including the Japanese and Czech foreign ministries. In 2014 and 2015, I provided
testimony for UK government committees on the Islamic State and the conflict in Syria.
More recently, I have served as an expert witness in the case of US vs. Musaibli in Detroit,
providing testimony on the Islamic State’s bureaucratic records and authenticity of some
documentary evidence being used in US vs. Musaibli.

As per the request of the defense counsel, I have reviewed the following materials for this
case:

. Transcripts of conversations between Georgianna Giampietro and an undercover FBI
agent, with accompanying 302s and FBI documents.
. Telegram messages between Giampietro, an undercover FBI agent and two other women
in a group chat called ‘Akhira over Dunya’ and another called ‘Grupo de Amigas 2.’
. Records of Western Union transfers made by Giampietro.

In this report I will provide first a background on the various terrorist and insurgent
organizations that are relevant to this case, as well as background on various charities
operating in Syria, and testimony regarding certain Arabic terms used in the context of the

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Syrian conflict. I will then state my opinions on some of the defendant’s statements and
behavior in view of the relevant background.

Armed groups of relevance

In considering the armed groups of relevance to this case, it is important to provide an
overview of their history in summation, as well as their areas of operation in Syria, their
attitude towards foreigners including Western recruits, and methods of finance.

Jabhat al-Nusra and its successor Hay’at Tahrir al-Sham

Considering that Hay’at Tahrir al-Sham is at the core of this case it is appropriate to begin
with discussion of this group and its development. Hay’at Tahrir al-Sham was formed in
January 2017, officially a merger of five groups: Jabhat Fatah al-Sham (a rebranded name for
what was Jabhat al-Nusra), Jabhat Ansar al-Din, Harakat Nour al-Din al-Zinki, Liwa al-Haq
and Jaysh al-Sunna. Hay’at Tahrir al-Sham was initially led by Hashim al-Sheikh, who was
previously involved in the group Ahrar al-Sham and had founded a subset of the group
called Jaysh al-Ahrar, pushing for a merger between Jabhat Fatah al-Sham and Ahrar al-
Sham. Hashim al-Sheikh took the components of Jaysh al-Ahrar with him into Hay’at Tahrir
al-Sham.

Ostensibly, the Hay’at Tahrir al-Sham project was designed to bring about a larger unity of
rebel factions in northwestern Syria. However, Jabhat Fatah al-Sham/Jabhat al-Nusra was
always the primary component of the Hay’at Tahrir al-Sham, and in subsequent events, the
majority of the other components broke off from Hay’at Tahrir al-Sham, essentially
reinforcing the reality by early 2018 that Hay’at Tahrir al-Sham was another rebranding in
succession to the original Jabhat Fatah al-Sham/Jabhat al-Nusra, which in fact sought to
impose its hegemony over other factions in northwest Syria. Harakat Nour al-Din al-Zinki
broke off in July 2017 amid a round of infighting between Hay’at Tahrir al-Sham and Ahrar
al-Sham,i while Jaysh al-Ahrar defected in September 2017,ii and part of Jabhat Ansar al-Din
defected in February 2018.iii Further, in October 2017, the leader of Jabhat Fatah al-
Sham/Jabhat al-Nusra- Abu Muhammad al-Jowlani- took the place of Hashim al-Sheikh as
leader of Hay’at Tahrir al-Sham.iv

Before continuing further it is appropriate to discuss Hay’at Tahrir al-Sham’s primary
predecessor: Jabhat al-Nusra, which changed its name to Jabhat Fatah al-Sham in July 2016.
Jabhat al-Nusra, whose name translates as the ‘Support Front,’ officially declared its
existence in January 2012. However, the group’s initial establishment goes back to mid to
late 2011, with its origins lying in a dispatch of the group’s leader- Abu Muhammad al-
Jowlani- to Syria from Iraq, in a mission that had the blessing and support of the Islamic
State of Iraq and its leader Abu Bakr al-Baghdadi.

At the time of its founding and in the subsequent period in which the group emerged to
become one of the most effective fighting forces on the side of the insurgency against the
Syrian government, Jabhat al-Nusra did not publicly declare its ties to any group. It was U.S.
intelligence that first correctly identified the group’s links to the Islamic State of Iraq, and
the first public confirmation of a link only came in April 2013, when Abu Bakr al-Baghdadi

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issued an audio message in which he declared that Jabhat al-Nusra was an extension of the
Islamic State of Iraq and that the time had come to announce the Islamic State in Iraq and
al-Sham (ISIS). Jowlani, however, sought to preserve his autonomy from Baghdadi, and
rejected the move, seeking the mediation of al-Qa’ida’s leader Ayman al-Zawahiri in the
hope of obtaining a ruling favorable to maintaining his autonomy. In this regard, therefore,
he declared that he was ‘renewing’ his allegiance pledge to Zawahiri, thereby publicly
affirming Jabhat al-Nusra to be al-Qa’ida’s affiliate in Syria. At the time this controversy
emerged, Jabhat al-Nusra was active in insurgent areas of operations throughout Syria, but
was noted to be developing a strong base in eastern Syria, giving the group access to oil
resources. By the summer of 2014, however, the group was driven out of eastern Syria as
part of the wider war between ISIS and the Syrian rebel groups that began at the turn of
2014. In that war, Jabhat al-Nusra had ultimately sided with the latter as ISIS had been
officially disavowed by al-Qa’ida in February 2014. Even facing so many enemies, however,
ISIS consolidated itself around Raqqa in central northern Syria and ended up seizing vast
swaths of territory spanning the borders of Iraq and Syria, and declared its caliphate at the
end of June 2014.

After losing its presence in eastern Syria, Jabhat al-Nusra refocused its resources and
manpower around the country’s northwest, where it already had a noteworthy presence. To
this day, the group’s successor Hay’at Tahrir al-Sham similarly has its power and presence
centered in northwest Syria. Despite its losses to the Islamic State, Jabhat al-Nusra would
continue to play an important part in the insurgency against the Syrian government, taking a
leading role in the Jaysh al-Fatah (‘Army of Conquest’) coalition of groups that during the
spring and summer of 2015 seized control of Idlib city and all other major towns in the
province that were held by Syrian government forces.

Although it had been hoped that the Jaysh al-Fatah would create a wider joint
administration between Idlib’s factions including Jabhat al-Nusra, the initiative ultimately
failed, with different factions generally maintaining their own judicial and service provisions.
Similarly, any initiatives for a merger between Jabhat al-Nusra and other factions were
tainted by the former’s association with al-Qa’ida. The perceived need for more united
efforts among the insurgency grew as the Syrian government, now backed by overt Russian
military intervention, sought to besiege and take control of the insurgent-held parts of
eastern Aleppo city, which if successful would prove a decisive blow to the insurgency. In
addition, there was talk of a joint Russian-U.S. campaign to target Jabhat al-Nusra. These
were some of the reasons behind the rebranding of Jabhat al-Nusra to Jabhat Fatah al-Sham
in July 2016, in which the group declared that it had no affiliation with any ‘external entity,’
which was taken to mean a breaking of ties with al-Qa’ida. However, the idea for the
rebranding was that the tie with al-Qa’ida should remain secret, at least until a larger
merger could be achieved that would allow a breaking of ties that would be acceptable to a-
Qa’ida’s leader Zawahiri. This was why the rebranding initially had the blessing of Zawahiri’s
deputy Abu al-Khayr al-Masri even though Zawahiri had not been consulted on the move.
When Zawahiri was informed of the matter, however, he rejected the move on the grounds
that he did not accept secret allegiance, marking the first real break between the group and
al-Qa’ida. The definitive break with al-Qa’ida came following the formation of Hay’at Tahrir
al-Sham, which was similarly done without consulting Zawahiri and occurred hastily in a
round of internal tension following the Syrian government’s recapture of eastern Aleppo

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city at the end of December 2016 and the failure of merger talks between Ahrar al-Sham
and Jabhat Fatah al-Sham.

The main analytical framework to explain the rationale for Hay’at Tahrir al-Sham is one of
asserting hegemony over the remaining insurgency: that is, to secure the insurgency’s
future and survival, it is better to have one hegemonic actor rather than multiple competing
actors in some kind of equilibrium. This would inevitably mean using force and coercion to
have the other factions accept this hegemony, if not destroying rivals entirely. It is this
framework of Hay’at Tahrir al-Sham’s desire for hegemony that explains the various rounds
of infighting that occurred between Hay’at Tahrir al-Sham and other Syrian rebel factions in
the period 2017-2019, culminating in the dismantling of the fiefdom of Harakat Nour al-Din
al-Zinki in west Aleppo countryside and the agreement by the other main rebel factions to
accept the authority of the Hay’at Tahrir al-Sham-backed Salvation Government over Idlib
and its environs,v thereby cementing the group’s hegemony that persists to this day. The
only main challenge the group has perceived to its hegemony since this time was the
formation of the ‘So Be Steadfast’ operations room led by the al-Qa’ida-loyalist group
Hurras al-Din, which itself was formed in 2017-2018 based on rejection of Hay’at Tahrir al-
Sham’s breaking of ties with al-Qa’ida. The hegemony over Idlib and its environs has
allowed Hay’at Tahrir al-Sham to secure and amplify its finances, through income sources
like control of border crossings, confiscation and renting out of real estate, establishment of
businesses, and taxes.

From the time of the inception of Jabhat al-Nusra until the present day with Hay’at Tahrir al-
Sham, foreigners (often called ‘muhajireen’- ‘migrants’- in the local discourse, derived from
the migration of the Prophet Muhammad and his followers from Mecca to Medina) have
played a significant role inside the group. Some of these foreigners have included Western
recruits. Nonetheless, in general it is fair to say that the role of foreigners has diminished
with time. For example, many foreigners defected from Jabhat al-Nusra to ISIS. According to
Jowlani himself in a discussion in late 2014, before the infighting with ISIS in the eastern
region, 70% of Jabhat al-Nusra’s leadership was composed of foreigners, but this diminished
to 40% with the infighting.vi Further, he estimated the proportion of foreign fighters in
Jabhat al-Nusra to range from 30 to 35%.vii In the current Hay’at Tahrir al-Sham, foreigners
occupy some leadership positions, with notable examples including Abu al-Fatah al-Farghali
(Egyptian), Abu Mariya al-Qahtani (Iraqi), ‘al-Idrissi’ (Tunisian) and Abu al-Harith al-Masri
(Egyptian). Further, there are contingents of foreign fighters who are either part of the
organization or are closely allied with it, such as Katibat al-Tawheed wa al-Jihad (Uzbek), the
Maldivian group, the Albanian group, and perhaps most prominently, the Turkestan Islamic
Party (Uyghur). In terms of the discourse of the group and its supporters, it should also be
noted that the group emphasizes protection of the muhajireen and that one of the group’s
principles is that it will not hand over any Muslim (local or foreigner) to a disbeliever, while
the group’s leaders tend to speak in terms of the wider Muslim Ummah (global Muslim
community) and defending Sunnis rather than in terms of a strictly nationalist vision for
Syria. Conversely, Hay’at Tahrir al-Sham has also been at odds with foreigners critical of the
group’s policies and direction, resulting in removal from the ranks of Hay’at Tahrir al-Sham,
arrests, imprisonment and even dissolution of certain groups. However, similar measures
are also taken against locals who are perceived to threaten the group’s hegemony.


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Turning to the subject of recruitment by Hay’at Tahrir al-Sham, notable changes have
occurred over the years that mean recruitment efforts have shifted inwards towards Syrians
inside Syria, such that the group does not actively target foreigners for recruitment in its
public messaging. The first major change is the substantial increase in the population of
northwest Syria where Hay’at Tahrir al-Sham operates, as the region has become flooded
with internally displaced persons from other parts of Syria. Some of these internally
displaced persons fled fighting in other regions, while others came as part of deals that were
struck between the Syrian government and localities that returned to its control whereby
those who rejected living under government control could take buses that would transport
them to northern Syria. This swelling of the population in the northwest provides an ample
recruitment pool for Hay’at Tahrir al-Sham. Second, the borders between Syria and Turkey
are now much less open, with border crossings only open for limited time periods (e.g.
religious occasions when Syrians in Turkey can visit relatives inside Syria). Turkey has also
constructed a border wall to deter illegal crossings from Syria into Turkey, and has in more
recent years deported large numbers of foreigners suspected of attempting to cross into
Syria (in contrast with the much more lax attitude in the early years of the civil war).

On multiple occasions, Hay’at Tahrir al-Sham has launched recruitment campaigns. These
campaigns take the form of announcements for recruitment posted on social media,
normally providing phone numbers and Telegram addresses for online contact. The most
recent manifestation of these recruitment campaigns is the ‘Military Recruitment
Administration’ that has set up multiple recruitment branches inside northwest Syria as of
May 2021. The phone numbers and addresses to contact, however, vary according to the
region inside northwest Syria, indicating that the recruitment campaigns are targeted at
people residing in those regions, not those from outside Syria. While theoretically, it is
possible for a foreigner currently outside Syria to join Hay’at Tahrir al-Sham, there is the
significant logistical challenge of arranging the trip into Syria, which would require the
advice of someone familiar with the border regions between Turkey and Syria, including
specifics on how to pass through the border crossings, bribe border personnel (if possible),
and so forth. This line of reasoning was confirmed by one of the recruitment branches I
contacted. When asked about the possibility of recruitment of a foreigner, the branch
mentioned that the person should ‘first come to Syria, then coordinate with us.’ The
recruitment branches, however, are not prepared to support an individual wishing to make
this journey, but rather the individual has to come at his own expense.viii This contrasts with
the Islamic State’s efforts dedicated to recruitment from around the globe, with propaganda
issued on the subject in multiple languages and an administrative body called the ‘Hijra
Commission’ that functioned in the heyday of the group’s power in Iraq and Syria. Among its
duties were management of the group’s border crossings with enemy territories and
providing support for those who wanted to migrate to join the Islamic State inside Iraq and
Syria.

Ahrar al-Sham

Mentioned in the preceding section on Jabhat al-Nusra and its successor Hay’at Tahrir al-
Sham, Ahrar al-Sham (‘The Free Men of al-Sham’) has been one of the most important
insurgent factions inside Syria, though its power and influence have diminished significantly
over time. The group’s roots go back to the Hama region in northwest Syria in late 2011.

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Many of the group’s original founders were detainees in the notorious Saydnaya prison that
had housed many Islamist and jihadist prisoners. These detainees had been released in an
amnesty by the Syrian government in 2011. Ahrar al-Sham, like Jabhat al-Nusra, came to
operate across insurgent areas of operation in Syria, but similarly found its primary base of
operations shifted to northwest Syria on account of the rise of ISIS, which, as mentioned
previously, took over eastern Syrian by the summer of 2014. Ahrar al-Sham suffered
another blow with the assassination of many of its first generation of leaders in September
2014, in an incident in which the perpetrator has never been conclusively identified. Even
so, the group would go on to play the leading role alongside Jabhat al-Nusra in the ‘Jaysh al-
Fatah’ advances in 2015. The group’s more definitive decline, however, came with the
formation of Hay’at Tahrir al-Sham- which saw the defection of the ‘Jaysh al-Ahrar’
contingent that subsequently did not rejoin Ahrar al-Sham- and the subsequent infighting in
the 2017-2019 period, which led to the group’s loss of control over key assets in Idlib
province (e.g. the Bab al-Hawa border crossing with Turkey). Subsequent internal divisions
and defections have rendered the group a shadow of its former self.ix

Ahrar al-Sham’s ideological roots, like those of Jabhat al-Nusra, lie in Salafi jihadism. There
was also a link with al-Qa’ida via Abu Khalid al-Suri, who was associated with Ahrar al-Sham
and was appointed by Zawahiri in 2013 to mediate the dispute between ISIS and Jabhat al-
Nusra. In addition, the group in its early years had many foreigners (including some
Westerners) in its ranks. Two of the most prominent foreigners in its ranks were Abu al-
Yaqdhan al-Masri and Abu Shu’aib al-Masri, Egyptian clerics who subsequently left Ahrar al-
Sham, joined Hay’at Tahrir al-Sham and then broke off from Hay’at Tahrir al-Sham.x In
general, it can be said that over time, Ahrar al-Sham moved away from its Salafi jihadist
roots and transitioned towards a Syrian nationalist vision while still retaining a Salafi
character. This transition can be understood with the following contrast: in 2013, Ahrar al-
Sham established along with other groups a coalition called the Islamic Front: a project
which Zawahiri had apparently wanted Jabhat al-Nusra to join. The Islamic Front described
itself as an ‘Ummah project’ and signaled its rejection of democracy. Today, Ahrar al-Sham is
part of the coalition of Turkish-backed rebel groups called the ‘National Front for
Liberation.’

Harakat Nour al-Din al-Zinki

A Syrian insurgent group with origins in the west Aleppo countryside at the end of 2011.
Initially, the group had a relationship with Liwa al-Tawheed, which was one of the most
important Syrian insurgent groups in the region of Aleppo. Ideologically, the group’s
national orientation in contrast with Jabhat al-Nusra and Ahrar al-Sham was always clear,
and the group is not known to have recruited foreigners into its ranks. By the turn of 2014,
Harakat Nour al-Din al-Zinki had become a recipient of support from the CIA via a Turkey-
based operations room intended to provide American support for ‘vetted’ Syrian insurgent
factions in northern Syria. This CIA support, however, was discontinued by 2016, likely for
reasons relating to corruption and the group’s working relations with other factions like
Jabhat al-Nusra that were deemed problematic.

Harakat Nour al-Din al-Zinki ended up being one of the five groups that joined Hay’at Tahrir
al-Sham as noted above, but the logic according to the group’s leader Tawfiq Shihab al-Din

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was as follows: Harakat Nour al-Din al-Zinki had supposedly proposed to Ahrar al-Sham that
the two should form a united front against Jabhat al-Nusra/Jabhat Fatah al-Sham. This was
rejected by Ahrar al-Sham, so then it was proposed the two should unite with Jabhat al-
Nusra/Jabhat Fatah al-Sham to try to undermine it within. When this too was rejected,
Harakat Nour al-Din al-Zinki decided to join Hay’at Tahrir al-Sham, while stipulating that
there should be no attacks on anyone of the ‘Free Army’ (i.e. the Syrian nationalist-oriented
groups).xi However, as noted above, Harakat Nour al-Din al-Zinki left Hay’at Tahrir al-Sham
on account of the infighting with Ahrar al-Sham. The group then formed an alliance with
Ahrar al-Sham called the Syria Liberation Front (February 2018), before proceeding to join
the National Front for Liberation in August 2018. The group’s independence in its stronghold
of west Aleppo countryside proved to be a thorn in the side of Hay’at Tahrir al-Sham’s quest
for hegemony in Idlib and its environs, but eventually, the latter’s superior military
capabilities overwhelmed Harakat Nour al-Din al-Zinki in January 2019. The group was
dismantled and its remnants withdrew towards the areas of north Aleppo countryside
controlled by factions of the ‘Syrian National Army’ that are under more direct Turkish
control. Those north Aleppo countryside areas are also free of the presence of Hay’at Tahrir
al-Sham.

Charities of relevance

Over the course of the war in Syria, many charitable organizations have emerged in the
insurgent-held territories. Some of these are run by local Syrians while others are run by
foreigners or have some sort of foreign involvement in them. How charity is used may also
vary: some of the money donated may go to genuine charitable initiatives to help the poor
in these areas, but other donations may be used as part of fund raising for insurgent military
activities. In this section I review the charitable organizations of relevance to this case,
including discussion of areas of operation and any knowledge of links to the insurgent
organizations.

The Merciful Hands

This is a charity operating in northwest Syria (i.e. Idlib and its environs) but it is relatively
obscure, even among the ‘muhajireen’ residing in the area. The charity, though, gained
some notoriety in the UK media in relation to the conviction of an individual called Amaani
Noor on the charge of funding terrorism as she sent a donation via Paypal to the Merciful
Hands.xii

The Merciful Hands has maintained a presence on social media (primarily Telegram and
Facebook) and still operates a Telegram channel to this day. Of relevance to note is that the
charity solicits donations in order to help the ‘mujahideen, muhajireen, orphans and
widows.’xiii By ‘mujahideen’ is meant ‘those who wage jihad’ (i.e. Islamic holy war/struggle),
but the post here provides no more specific information on who they are. Thus, while it can
be deduced from this post that the Merciful Hands solicits donations to fund insurgent
activity in northwest Syria, it is not possible to deduce from this post the exact affiliation of
those militants to whom the donations would go.

Currently, the Merciful Hands is under the administration of an individual going by the

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Telegram name of @mansouralmani,xiv whose name suggests that the person running the
account is of German origin. Previously though, the Merciful Hands was run by an individual
who goes by the Telegram name of @Kdot5g and was running the Merciful Hands at the
time of the facts relevant to this case. I have communicated with the individual who runs
this Telegram account. He does not recall a donation by an American national to the
Merciful Hands. He describes himself as being from Birmingham in the UK originally, and
that he was previously in Ahrar al-Sham, serving under the command of Abu al-Yaqdhan al-
Masri. Now, however, he says that he is not affiliated with anyone. The individual is
certainly supportive of a broader cause of jihad in Syria, but is not a supporter of Hay’at
Tahrir al-Sham. In fact, he appears to be rather disillusioned with the current state of affairs
in northwest Syria, as Hay’at Tahrir al-Sham has consolidated its authority and effectively
acts as an enforcer of the ceasefire agreement worked out between Turkey and Russia for
the northwest region in March 2020. As he put it:

‘It wrecks my brain to think about it. I can’t understand it. Where are we going, what are we
doing, what is the end goal now. Hts [Hay’at Tahrir al-Sham] doesn’t admit to any wrong
doing.’xv

Speaking of the community of ‘muhajireen’ he is familiar with more generally, he had noted:

‘Everyone is living in a confused state. Not knowing what will happen tomorrow. Majority of
these brothers don’t want to enter to hts and have been independent for a long time. Now
hts is closing all doors for any work.’xvi

In short, there is no evidence available to suggest that Merciful Hands is tied to Hay’at Tahrir
al-Sham, a point corroborated by ‘Taqi al-Din Omar,’ who is head of contact in Hay’at Tahrir
al-Sham’s media relations office.xvii The evidence instead suggests that the Merciful Hands
has been operating among foreigners present in northwest Syria who are independent of
Hay’at Tahrir al-Sham.

Al-Sadaqah Syria

The term ‘sadaqah’ is used to refer to charity in Arabic: it may be distinguished from the
concept of ‘zakat’ in the sense that it is considered a voluntary donation, whereas zakat
refers to obligatory almsgiving that is traditionally deemed to be one of the five pillars of
Islam. Al-Sadaqah Syria was a charity operating in northwest Syria and appears to have
become defunct by the end of 2018. The group advertised its operations on Telegram and
operated a contact via WhatsApp, email and Telegram, with people afforded the
opportunity to make donations via Bitcoin. Unlike the Merciful Hands though, this charity
appears only to have concerned itself with fundraising for militant/insurgent activities, with
one post featuring a banner that mentions ‘supporting the mujahidin in Syria with weapons,
financial aid and other projects assisting the jihad.’xviii However, no specific affiliations of
these ‘mujahideen’ are mentioned, and so it is not possible to deduce from the open source
evidence which insurgent groups, if any, benefited from donations made to al-Sadaqah
Syria.

The only information it was possible to obtain regarding any links al-Sadaqah Syria might

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have with insurgent organizations was via contact with the former owner of the Merciful
Hands. According to him: ‘No they don’t support hts either. They’re actually independent
and hate hts.’ However, it should be noted that he based this statement on the assumption
of knowing who was behind al-Sadaqah Syria, but he had not actually seen the Telegram
channel in question until I sent him the link, and he could not be certain of knowing who
was behind the channel. Therefore, his testimony on this matter is speculative to some
degree and cannot be taken as conclusive. However, it should be noted ‘Taqi al-Din Omar’
denied a link between al-Sadaqah Syria and Hay’at Tahrir al-Sham. In short, there is no
evidence to show that al-Sadaqah Syria is linked to Hay’at Tahrir al-Sham. For an individual
to have made a donation to al-Sadaqah Syria believing that the money would go to Hay’at
Tahrir al-Sham would have meant that the individual would have had to been informed by
someone urging the donation that this was the case.

Clarification of terms

I have been asked to clarify the meaning of some Arabic terms relevant to this case. They
are as follows:

. Hijra: this term translates as ‘migration’ and in the Islamic religious context is most
commonly understood as referring to the migration that the Prophet Muhammad made
from Mecca to Medina in 622 CE. In the context of the current conflict in Syria the term has
been used to refer to those who left their homes in various countries around the world to
come to the insurgent-held territories in Syria, whether to fight or perform other duties like
aid work.

. Jihad: coming from the Arabic j-h-d, the term literally means ‘struggle’ but in Islam it is
most commonly associated with fighting the disbelievers, whether in a defensive or
offensive sense. In the context of the Syrian conflict, it is most commonly used to refer to
taking up arms and fighting the enemy. It is mostly associated with the rebel side whether
of the nationalist or jihadist orientation, but it has also been used by those fighting on the
government side (especially foreign Shi’a fighters who came to Syria).

. Fitna: this is an Arabic term that can translate as ‘strife,’ ‘affliction’ and also ‘temptation.’
The term occurs multiple times in the Qur’an and hadith literature and always has a
negative connotation. In the context of Syria though it is most commonly used to refer to
internal strife between Syria’s insurgent factions, such as the infighting between Hay’at
Tahrir al-Sham and the other rebel groups in the period 2017-2019.

Opinions

Based on a review of the defendant’s communications regarding Hay’at Tahrir al-Sham,
Harakat Nour al-Din al-Zinki and Ahrar al-Sham, it is my opinion that her expressed
statements regarding Hay’at Tahrir al-Sham are not consistent with those who support the
group. Supporters of Hay’at Tahrir al-Sham justified the group’s actions against other
insurgent elements on various grounds, including the supposed goal of realizing unity and
combating division and fighting against supposed criminal elements/elements conspiring
with the Syrian government/Russia/the West (particularly with regards to fighting Harakat

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Nour al-Din al-Zinki).xix In contrast, the defendant speaks negatively about this infighting
between Hay’at Tahrir al-Sham and Harakat Nour al-Din al-Zinki in referring to it as fitna and
citing a saying attributed to the Prophet Muhammad that ‘in a time of fitna, stay in your
homes.’ In the same conversation she cited another purported saying that when two
brothers (i.e. fellow Muslims) fight each other with a sword, both of them will end up in hell.
Elsewhere she has criticized Hay’at Tahrir al-Sham, saying: ‘Even HTS right now they’re not
doin’, they’re not doin’ good either they’re just, yeah Abdullah is very disappointed in
them.’ She had also cited Abu Abdullah’s opinion that it was not safe to go, and she
mentioned that it was ‘not obligatory’ to go during times of fitna.

By extension, it is also my opinion that the sentiments that the defendant expressed about
the ‘fitna’ (i.e. in-fighting) are not consistent with those who support participation by
Westerners in the conflict. Those who do support such participation have tended to
encourage Westerners to join the Islamic State on the grounds that it is the Caliphate and
Westerners need to contribute to it whether in a military or other service capacity.
Alternatively, they may have encouraged participation in the conflict on the grounds of
supporting a greater cause of jihad against the Syrian government. However, as even the
indictments have outlined, the defendant actually discourage one of the undercover agents
from travelling to Syria on the grounds that there was no jihad in Syria, instead encouraging
her to go to Afghanistan.

It is also my opinion that the defendant’s resolve to go to Syria is far from clear-cut. On
more than one occasion, she referenced the need to pay off her debts prior to going to
Syria, even as a supposed scholar in Syria queried by Abu Abdullah said it was not necessary
to pay off the debt, relating a story of a debt to a Jew that had to be paid back. She was
reluctant to reveal her religion to colleagues at work and did not want to risk losing her job,
because then she would not have the means to pay off her debt. It should be noted,
however, that the former owner of the Merciful Hands also said that debts should be paid
prior to ‘hijra,’xx so her opinion is not necessarily inconsistent with those who have actually
gone to Syria.

Concerning the Western Union transfers the defendant made, it is my opinion that it is
possible that the transfer on June 14, 2018 was made to an individual participating in the
activities of al-Sadaqah Syria and that the money was thus intended for al-Sadaqah Syria.
That said, it should be noted that the platform was soliciting donations via Bitcoin, whereas
the Merciful Hands (to which the defendant says she sent the money) has offered
opportunities for donation via Western Union as well as Bitcoin.. It is also my opinion that
based on the available evidence, it cannot be conclusively demonstrated that this transfer
was intended to support Hay’at Tahrir al-Sham, but rather it is possible that the money
could have funded militant activity of groups independent of Hay’at Tahrir al-Sham. It is the
burden of the prosecution to establish a definitive link here with a designated terrorist
organization.

Finally it is my opinion, based on my research, that the advice the defendant and her
contact provided to the undercover agent was general advice and not specialized advice one
might pay for that could significantly enhance the chance of success for entering Syria and
joining a designated terrorist group, particularly given the fact that entry into Syria at this

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stage of conflict required much more careful and detailed planning.




i
   ‘Harakat Nour al-Din al-Zinki defects from Hay’at Tahrir al-Sham and clarifies the reasons,’ al-Souria.net, July
20, 2017 (https://www.alsouria.net/archive/content/%D8%AD%D8%B1%D9%83%D8%A9-
%D9%86%D9%88%D8%B1-%D8%A7%D9%84%D8%AF%D9%8A%D9%86-
%D8%A7%D9%84%D8%B2%D9%86%D9%83%D9%8A-%D8%AA%D9%86%D8%B4%D9%82-%D8%B9%D9%86-
%D9%87%D9%8A%D8%A6%D8%A9-%D8%AA%D8%AD%D8%B1%D9%8A%D8%B1-
%D8%A7%D9%84%D8%B4%D8%A7%D9%85-%D9%88%D8%AA%D9%88%D8%B6%D8%AD-
%D8%A7%D9%84%D8%A3%D8%B3%D8%A8%D8%A7%D8%A8)
ii
    ‘Jaysh al-Ahrar defects from ‘Tahrir al-Sham’ and the latter sends convoys to the areas of its control,’
Horrya.net, September 14, 2017 ( https://horrya.net/archives/32398)
iii
     ‘’Ansar al-Din’ defects from ‘Tahrir al-Sham’: three formations have remained,’ Enab Baladi, February 9, 2018
(https://www.enabbaladi.net/archives/205568)
iv
     ‘Abu Jaber al-Sheikh: I am not a member in ‘Tahrir al-Sham’ and I am not pleased with the conduct of
‘Jowlani’,’ Shaam Network, January 14, 2019 (http://www.shaam.org/news/syria-
news/%D8%A3%D8%A8%D9%88-%D8%AC%D8%A7%D8%A8%D8%B1-
%D8%A7%D9%84%D8%B4%D9%8A%D8%AE-%D9%84%D8%B3%D8%AA-
%D8%B9%D9%86%D8%B5%D8%B1%D8%A7%D9%8B-%D9%81%D9%8A-
%D8%AA%D8%AD%D8%B1%D9%8A%D8%B1-%D8%A7%D9%84%D8%B4%D8%A7%D9%85-
%D9%88%D9%84%D8%A7-%D8%B1%D8%A7%D8%B6-%D8%B9%D9%86-
%D8%B3%D9%84%D9%88%D9%83%D9%8A%D8%A7%D8%AA-
%D8%A7%D9%84%D8%AC%D9%88%D9%84%D8%A7%D9%86%D9%8A.html)
v
    ‘Agreement between the factions places all of Idlib under the control of the ‘Salvation’ government affiliated
with ‘Hay’at Tahrir al-Sham,’’ Rai al-Youm, January 10, 2019
(https://www.raialyoum.com/%D8%A7%D8%AA%D9%81%D8%A7%D9%82-%D8%A8%D9%8A%D9%86-
%D8%A7%D9%84%D9%81%D8%B5%D8%A7%D8%A6%D9%84-%D9%8A%D8%B6%D8%B9-
%D9%83%D8%A7%D9%85%D9%84-%D8%A5%D8%AF%D9%84%D8%A8-%D8%AA%D8%AD%D8%AA-
%D8%B3%D9%8A%D8%B7/)
vi
     ‘Jowlani in a discussion: we have surprises in Lebanon (video),’ Arabi 21, November 5, 2014
(https://arabi21.com/story/786824/%D8%A7%D9%84%D8%AC%D9%88%D9%84%D8%A7%D9%86%D9%8A-
%D9%81%D9%8A-%D8%AD%D9%88%D8%A7%D8%B1-%D9%84%D8%AF%D9%8A%D9%86%D8%A7-
%D9%85%D9%81%D8%A7%D8%AC%D8%A2%D8%AA-%D9%81%D9%8A-
%D9%84%D8%A8%D9%86%D8%A7%D9%86-%D9%81%D9%8A%D8%AF%D9%8A%D9%88)
vii
      Ibid.
viii
       Conversation with the ‘Middle Region Recruitment Branch,’ August 2021.
ix
     See e.g. ‘Ahrar al-Sham: The general command is ‘angry’ after the ‘defection’ of the Jabal al-Zawiya brigades,’
August 7, 2021, al-Souria.net (https://www.alsouria.net/%D8%A3%D8%AD%D8%B1%D8%A7%D8%B1-
%D8%A7%D9%84%D8%B4%D8%A7%D9%85-%D8%A7%D9%84%D9%82%D9%8A%D8%A7%D8%AF%D8%A9-
%D8%BA%D8%A7%D8%B6%D8%A8%D8%A9-%D8%A8%D8%B9%D8%AF-
%D8%A7%D9%86%D8%B4%D9%82%D8%A7/)
x
    Interview with Abu Shu’aib al-Masri, February 2020 (http://www.aymennjawad.org/2020/02/interview-with-
talha-al-masir-abu-shuaib-al-masri); and interview with Abu al-Yaqdhan al-Masri, February 2020
(http://www.aymennjawad.org/2020/02/interview-with-sheikh-abu-al-yaqdhan-al-masri)
xi
     Interview with Tawfiq Shihab al-Din, January 2020 (http://www.aymennjawad.org/2020/01/the-history-of-
harakat-nour-al-din-al-zinki)
xii
      ‘Woman accused of funding terrorism married foreign fighter and ‘supported Islamic State,’ jury hears,’
Liverpool Echo, December 2, 2019 (https://www.liverpoolecho.co.uk/news/liverpool-news/woman-accused-
funding-terrorism-married-17351801)
xiii
       Post by Merciful Hands on Telegram, March 5, 2021.
xiv
       Ibid. and e.g. post by Merciful Hands on Telegram, August 16, 2021.


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xv
    Conversation, July 2021.
xvi
     Ibid.
xvii
      Statement to the author, July 2021.
xviii
      Post on a Telegram channel for al-Sadaqah Syria, October 29, 2018.
xix E.g. In an interview with me in January 2019, Hay’at Tahrir al-Sham supporter ‘Abu al-Layth al-Halabi’

expressed the following sentiment on the infighting:

‘Of course it is not hidden to anyone: the project of surrender that the Zinki movement began working on
through meetings with the Russians in regards to handing over the villages and localities that lie under the
control of this faction to the Russians. Previously I have published leaks of the agreement that occurred
between the Zinki faction and the Russians that stipulates handing over of the villages and localities of the
Muslims to the Nusayri army and the Russians. In addition, the Zinki movement brought in Jaysh al-Thuwar [a
Syrian Democratic Forces-affiliated group of former rebels who were based in Afrin] to the villages and
localities of the Muslims, and killed the best of the mujahideen of HTS. So now this faction has become a toxic
dagger in the side of the Syrian revolution. Of course in any infighting that occurs, HTS informs all the factions
that the problem is not with you oh factions but rather with this faction that wants to end the jihad and
destroy the revolution in the land of al-Sham but the factions do not heed this and can only intervene to
defend a faction in which the cases of immorality and acts of disobedience against God have become
numerous, such as fornication and wine-drinking, in addition to blaspheming against God (Almighty and
Exalted is He) openly and in broad daylight. And what has happened has happened from the interventions of
the factions to defend this faction that wants to hand over the lands of the Muslims!!’

xx
      Conversation, August 2021.




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